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BRESSLER, AMERY & ROSS, P.C.
325 Columbia Turnpike
Florham Park, New Jersey 07932
(973) 514-1200 (phone)
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Attorneys for Defendants
Virginia Transportation Corporation and
Jason B. Franklin

                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY

                                                    Civil Action No.: 2:21-cv-11715
 HAN J. YUN,

                Plaintiff,

 v.

 JASON B. FRANKLIN, VIRGINIA                                  NOTICE OF REMOVAL
 TRANSPORTATION CORP., JOHN DOES                                   (Diversity)
 1-10 (said names being fictitious) and JOHN
 ROE CORP. 1-10 (said names being
 fictitious),
               Defendants.

        Defendants Virginia Transportation Corporation (“VTC”) and Jason B. Franklin (“Mr.

Franklin”) (collectively, “Defendants”) through their counsel, pursuant to 28 U.S.C. §§ 1332,

1367, 1441 and 1446, and with a full reservation of any and all rights, claims, objections and

defenses, hereby file this Notice of Removal from Superior Court of New Jersey, Law Division,

Bergen County, in which the action is now pending under Docket Number L-002614-21 to the

United States District Court for the District of New Jersey, and respectfully states:

                                     THE REMOVED CASE

        1.     On or about April 20, 2021, there was commenced and is now pending before the

Superior Court of the State of New Jersey, County of Bergen, a civil action entitled Yun v.

Franklin, et al., Docket No. BER-L-002614-21 (herein after “State Court Action”). A true copy

of the complaint filed in that matter is attached as Exhibit 1.


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                      JURISDICTION AND GROUNDS FOR REMOVAL

        2.      This action is a civil action removable to this Court pursuant to 28 U.S.C. § 1441

because this Court has original jurisdiction over this cause under 28 U.S.C. § 1332(a)(1).

        3.      Based upon the Complaint, Plaintiff is an individual and citizen of New Jersey

residing at 188 Wheaton Place in Rutherford, New Jersey.

        4.      Defendant VTC is a corporation of the State of Rhode Island, having its principal

place of business at 141 James P. Murphy Industrial Highway in West Warwick, Rhode Island.

        5.      Defendant Jason Franklin is an individual and citizen of New York residing at 138-

42 227th Street in New York, New York.

        6.      Accordingly, the diversity of citizenship requirement is satisfied pursuant to 28

U.S.C. § 1332(a)(1) and (c).

        7.      Plaintiff asserts in the Complaint personal injury due to negligence in the operation,

control, maintenance and/or supervision of said motor vehicle resulting in pain, suffering, medical

expenses, and economic losses. Although the Complaint does not state the monetary amount that

Plaintiff seeks in relief, Plaintiff alleges serious and permanent injuries that affect Plaintiff’s ability

to engage in everyday activities. Plaintiff also seeks damages for pain, suffering, medical expenses

and economic losses, against the Defendants.

        8.      Accordingly, in light of Plaintiff’s complaints and the fact that the accident

involved a tractor trailer, Defendants have a good-faith basis to believe that the matter in

controversy in this action exceeds the sum or value of $75,000, exclusive of interest and costs.

Thus, the amount is controversy requirement is satisfied pursuant to 28 U.S.C. § 1322(a). This

action is, therefore, a civil action of which this Court has original jurisdiction under 28 U.S.C. §

1332 and one which may be removed by Defendant pursuant to 28 U.S.C. §§ 1441(b) and 1446 in




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that it is a civil action wherein the matter in controversy exceeds the sum of $75,000, exclusive of

interest and costs, and is between citizens of different states.

              THE REMOVAL IS TIMELY AND PROCEDURALLY PROPER

        9.     Plaintiff filed his Complaint in state court on or around April 20, 2021.

        10.    A copy of the Complaint was served by personal service upon Defendant VTC on

April 27, 2021. Defendant VTC did not receive the Complaint prior to the service of same. Mr.

Franklin has not yet been served. Therefore, this Notice of Removal is filed within 30 days of first

notice of the lawsuit and less than one year after commencement of the State Court Action. As

such, it is timely under 28 U.S.C. § 1446(b).

        11.    Defendants VTC and Mr. Franklin consent to the removal of this action to the

United States District Court for the District of New Jersey.

        12.    Pursuant to Fed. R. Civ. P. 81(c)(2)(C), Defendants’ response to the Complaint is

not due to be served until June 1, 2021.

                                FILING OF REMOVAL PAPERS

        13.    Pursuant to 28 U.S.C. § 1446(d), Defendants concurrently herewith give written

notice of filing of this Notice of Removal to the Plaintiff and to the Superior Court, Bergen County,

New Jersey. A copy of that Notice is attached to this Removal. (See Exhibit 2 (without exhibits)).

        WHEREFORE, Defendants Virginia Transportation Corp. and Jason Franklin hereby

remove Docket Number BER-L-002614-21 from the Superior Court of New Jersey, Law Division,

Bergen County to this Court for determination and respectfully request that this Court make and

enter an Order of Removal.




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                                               Respectfully submitted,

                                               BRESSLER, AMERY & ROSS, P.C.
                                               Attorneys for Defendants
                                               Virginia Transportation Corp. and
                                               Jason B. Franklin



                                       By:
Dated: May 25, 2021                                     MaryJane Dobbs



                             LOCAL RULE 11.2 CERTIFICATION

        Pursuant to Local Civil Rule 11.2, the undersigned hereby certifies that, at the time of filing

the within, the undersigned is not aware that the matter in controversy is the subject of actions

pending in any other court, or of any pending arbitration or administrative proceeding, except as

disclosed herein.

                                               Respectfully submitted,

                                               BRESSLER, AMERY & ROSS, P.C.
                                               Attorneys for Defendants
                                               Virginia Transportation Corp. and
                                               Jason B. Franklin



                                       By:
Dated: May 25, 2021                                     MaryJane Dobbs




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                                CERTIFICATE OF SERVICE


        On this day, I certify that a copy of the above and foregoing notice was caused to be filed

by ECF. I also hereby certify that a true copy of the above and foregoing notice was electronically

filed by e-Courts with the Clerk’s Office, Superior Court of New Jersey, Bergen County Justice

Center, 10 Main Street, Hackensack, New Jersey 07601.

        I also hereby certify that a true copy of the above and foregoing notice was delivered by

Lawyers’ Service to:

                              Henry L. Kim, Esq.
                              Kim, Cho & Lim, LLC
                              460 Bergen Boulevard, Suite 305
                              Palisades Park, New Jersey 07650
                              Attorney for Plaintiff
                              Han J. Yun




                                                             Emily J. Bordens
Dated: May 25, 2021




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              EXHIBIT 1
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               EXHIBIT 2
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MaryJane Dobbs, Esq. (No. 017121989)
Emily J. Bordens, Esq. (No. 021792006)
BRESSLER, AMERY & ROSS, P.C.
325 Columbia Turnpike
Florham Park, New Jersey 07932
(973) 514-1200
Attorneys for Defendants
Virginia Transportation Corp. and Jason B. Franklin

                                                    SUPERIOR COURT OF NEW JERSEY
 HAN J. YUN,
                                                    BERGEN COUNTY – LAW DIVISION
                                                    Docket No.: BER-L-2614-21
                Plaintiff,
                                                                  Civil Action
 v.

 JASON B. FRANKLIN, VIRGINIA
 TRANSPORTATION CORP., JOHN DOES                     NOTICE OF FILING OF REMOVAL
 1-10 (said names being fictitious) and JOHN
 ROE CORP. 1-10 (said names being
 fictitious),
                Defendants.

TO:     Clerk of the Superior Court of New Jersey
        Bergen County Justice Center
        10 Main Street
        Hackensack, New Jersey 07601

        Henry L. Kim, Esq.
        Kim, Cho & Lim, LLC
        460 Bergen Boulevard, Suite 305
        Palisades Park, New Jersey 07650
        Attorney for Plaintiff
        Han J. Yun

        YOU ARE HEREBY NOTIFIED that, on or about the 25th day of May, 2021,

Defendants Virginia Transportation Corp. and Jason B. Franklin (“Defendants”) caused to be filed

in the United States District Court for the District of New Jersey a Notice of Removal removing

the above-styled action from the Superior Court of New Jersey, Law Division of Bergen County,

New Jersey, to the United States District Court for the District of New Jersey. A copy of the

Notice of Removal is attached hereto as Exhibit 1. The filing of this Notice with the Clerk of


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Superior Court of Bergen County, New Jersey effected immediate removal of this action to the

United States District Court for the District of New Jersey.

        PLEASE TAKE FURTHER NOTICE that this Notice of that filing is given pursuant to

the provisions of 28 U.S.C. §1446(d) as amended.


                                             BRESSLER AMERY & ROSS, P.C.
                                             Attorneys for Defendants
                                             Virginia Transportation Corporation and
                                             Jason B. Franklin



                                      By:
                                                      MaryJane Dobbs
Dated: May 25, 2021




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                                   CERTIFICATE OF SERVICE


          On this day, I certify that the above and foregoing notice was caused to be electronically

filed with the Clerk of the Superior Court of New Jersey, Bergen County Justice Center by e-

Courts.

          I also hereby certify that a true copy of the above and foregoing notice was delivered by e-

Courts and Lawyers’ Service to:

                                Henry L. Kim, Esq.
                                Kim, Cho & Lim, LLC
                                460 Bergen Boulevard, Suite 305
                                Palisades Park, New Jersey 07650
                                Attorney for Plaintiff
                                Han J. Yun




                                                               Emily J. Bordens
Dated: May 25, 2021




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